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             EXHIBIT F
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Government accounting, etc

§ 11
Institutions that are covered by § 2, paragraph 1, no. 1, are obliged to use the management systems
provided by the Agency for Modernisation, cf. chapter 8.

Paragraph 2.
Institutions, that are covered by § 2, paragraph 1, no. 1, are required to use those systems, as
provided by the Agency for Modernisation, in areas involving the economy, payments, HR and
payroll.

Paragraph 3.
In connection with the systems mentioned in § 11, paragraph 1 and 2 happen according to
agreement with the Agency for Modernisation.

Paragraph 4.

Use of systems other than those mentioned in paragraph 1 must be approved by the Ministry of
Finance. Approval is granted under the presumption that such systems meet the same information,
safety, control and time requirements as those pre-approved systems mentioned in paragraph 2.
Furthermore, approval of said systems requires that data is available to be shared with the Agency
for Modernisation’s systems via electronic transfer or some other method. The Ministry of Finance
must inform the National Audit Office of any such approvals.

Paragraph 5.

Institutions that use supplementary systems to support the digitization of the accounting system
must ensure that the supplementary systems continuously support applicable state standards. The
National Audit Office reserves the right to evaluate such supplementary systems prior to their
implementation if such systems will impact audit purposes.
